                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                HARRISONBURG DIVISION


 IN THE MATTER OF THE SEARCHES                            SEALED
 OF:
                                                          Case No. 5:18mj00044
 509 NATIONAL AVENUE,
 WINCHESTER, VIRGINIA




                               AFFIDAVIT IN SUPPORT OF
                         APPLICATIONS FOR A SEARCH WARRANT

         I, Thomas F. Hickey, being first duly sworn, hereby depose and state as follows:


                                 Introduction & Agent Background

        1.       This affidavit is submitted in support of an application for a search warrant for

509 National Avenue, Winchester, Virginia, utilized by DANIEL GOMEZ-BARAJAS for the

distribution of cocaine and marijuana.

        2.       I have been a Special Agent with the United States Drug Enforcement

Administration (DEA) since February 1999. I am currently assigned to Enforcement Group 49,

Winchester Resident Office, of the DEA Washington Division Office and am co-located with the

Northwest Virginia Regional Drug and Gang Task Force (NWVRDGTF). I have received

training in all areas of narcotics investigations including search and seizure laws and statutes

pertaining to enforcement of the Controlled Substances Act. Since becoming a federal law

enforcement officer in 1992, I have either conducted or assisted other law enforcement officers in

conducting numerous narcotics investigations that have resulted in the arrest and conviction of numerous

individuals.

        3.       The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set
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forth all of my knowledge about this matter.

       4.       Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that DANIEL GOMEZ-BARAJAS has violated Title 21,

United States Code, Sections 846 and 841. There is also probable cause to search the 509

National Avenue, further described in Attachment A for evidence of these crimes, as described

in Attachment B.

                                    Subjects and Offenses


       5.       This investigation concerns alleged violations of Title 21, United States Code,

Sections 846 and 841(b)(1)(A), Conspiracy to Possess with the Intent to Distribute and

Conspiracy to Distribute Cocaine HCl, a Schedule II Controlled Substance. I have participated in

the investigation of the drug trafficking activities related to DANIEL GOMEZ-BARAJAS,

Guadalupe IBARRA, “TRAMPA,” and “SANDOVAL.” During that investigation, law

enforcement determined that the TRITON drug trafficking organization (TRITON DTO) is a

network of cocaine distributors residing and operating in Virginia and West Virginia, and that the

POSEIDON drug trafficking organization (POSEIDON DTO) is a network of cocaine distributors

residing and operating primarily in Virginia.

       6.       DANIEL GOMEZ-BARAJAS has been identified as using cellular telephone

number 540-771-7843 and is known to reside at 509 National Avenue, Winchester, VA.

DANIEL GOMEZ-BARAJAS is known to drive a silver 2012 Chevrolet 4 door sedan bearing

VVK-3100 (VA).

       7.       In March 2017, the NWVRDGTF was buying cocaine from Vicky HOUGHTON

and Effie HOUGHTON. Source information indicated the HOUGHTONs were supplied by a




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Hispanic male. That subject was later identified as NAAL-HUCHIN. Other law enforcement

entities throughout the area reported to your Affiant and the NWVRDGTF that they too were

purchasing cocaine from NAAL-HUCHIN and/or his co-conspirators. One such entity was FBI–

Martinsburg (WV) and the Eastern Panhandle Safe Streets Task Force (EPSSTF). Since that

time, DEA-Winchester, FBI-Martinsburg, the NWVRDGTF and the EPPSSTF have conducted a

joint investigation into the drug distribution network based out of the Winchester, Virginia area

and the Martinsburg, WV area, otherwise known as the TRITON DTO and the POSEIDON DTO.

       8.       As part of the investigation into these drug trafficking activities, law enforcement

sought and received authorization through the United States District Court in the Northern

District of West Virginia to intercept wire and electronic communications for several target

telephones. The intercepts and subsequent surveillance operations were staffed by members of

FBI-Martinsburg, the EPSSTF, DEA –Winchester, the NWVRDGTF, ATF-Martinsburg, ATF-

Winchester, and HSI-NOVA. Intercepted communications began in July 2017 and extend

through February 1, 2018. Several of those intercepted communications are described below.

       9.       The investigation revealed that IBARRA-Ayon supplied both the TRITON DTO

and the POSEIDON DTO with quantities of cocaine. As part of that operation, IBARRA-Ayon

regularly received multi-kilogram quantities of cocaine from his sources of supply, “TRAMPA”

and “SANDOVAL,” who reside and operate in Axton, Virginia. Once IBARRA-Ayon received a

supply of cocaine from “TRAMPA” and “SANDOVAL,” IBARRA-Ayon returned to the area of

Winchester, Virginia, and distributed the cocaine to drug dealers in West Virginia, Virginia, and

elsewhere.

       10.      As part of the POSEIDON DTO, DANIEL GOMEZ-BARAJAS received

kilogram quantities of cocaine from IBARRA-Ayon, and DANIEL GOMEZ-BARAJAS provided




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that cocaine to others for the purpose of further distributing it to drug customers.

                                              Probable Cause

       11.      On October 31, 2017, intercepted communications between DANIEL GOMEZ-

BARAJAS and IBARRA-Ayon begins with DANIEL GOMEZ-BARAJAS identifying himself as

“Danny” and said this number is his “new one”. DANIEL GOMEZ-BARAJAS then asked

IBARRA-Ayon for a “large beer” for either Thursday or Friday and told IBARRA-Ayon he

would have the money that is owed to him. Your Affiant believes “large beer” to be code for one

kilogram of cocaine. Subsequent text messages on November 2, 2017 show DANIEL GOMEZ-

BARAJAS and IBARRA-Ayon arranging to meet with each other at the residence of DANIEL

GOMEZ-BARAJAS.

       12.      On November 10, 2017, intercepted text messages between DANIEL GOMEZ-

BARAJAS and IBARRA-Ayon show DANIEL GOMEZ-BARAJAS asking if he has at least a

little bit. IBARRA-Ayon replied that he had nothing. DANIEL GOMEZ-BARAJAS then texted

that IBARRA-Ayon could stop by and pick up the papers for the invitations to the party. Your

Affiant believes this to be code for drug money that is owed to IBARRA-Ayon. Subsequent text

messages on November 12, 2017 show DANIEL GOMEZ-BARAJAS and IBARRA-Ayon

arranging to meet with each other at the residence of DANIEL GOMEZ-BARAJAS to pick up

the paper.

       13.      On December 4, 2017, intercepted communications between IBARRA-Ayon and

TRAMPA, his cocaine source of supply in Axton, VA, show that IBARRA-Ayon will travel to

Axton, VA and pick up what your Affiant interprets as four kilograms of cocaine. On December

5, 2017, surveillance was established by DEA Roanoke who confirmed IBARRA-Ayon travelled

to Axton, VA. After IBARRA-Ayon returned to the Winchester area, surveillance units followed




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IBARRA-Ayon as he delivered cocaine to other customers.

       14.      On December 5, 2017, intercepted communications between IBARRA-Ayon and

DANIEL GOMEZ-BARAJAS show that they will meet at 509 National Avenue. In a text

message, DANIEL GOMEZ-BARAJAS asked IBARRA-Ayon if he had one for him. IBARRA-

Ayon asked if its “another one” to which DANIEL GOMEZ-BARAJAS texted “yes”.

Surveillance was able to observe IBARRA-Ayon arrive in the area of 509 National Avenue. Due

to the location, surveillance was not able to see DANIEL GOMEZ-BARAJAS and IBARRA-

Ayon meet. A short time later, IBARRA-Ayon left the area. Your affiant believes that

IBARRA-Ayon delivered one kilogram of cocaine to DANIEL GOMEZ-BARAJAS on this date.

       15.      On December 9, 2017, intercepted communications between IBARRA-Ayon and

TRAMPA, his cocaine source of supply in Axton, VA, show that IBARRA-Ayon will travel to

Axton, VA and pick up what your Affiant interprets at two kilograms of cocaine. On December

10, 2017, surveillance was established by DEA Roanoke who confirmed IBARRA-Ayon

travelled to Axton, VA.

       16.      On December 10, 2017, intercepted communications between IBARRA-Ayon

and DANIEL GOMEZ-BARAJAS show DANIEL GOMEZ-BARAJAS asking IBARRA-Ayon

for “14 beers” then clarifies that is a “half”. IBARRA-Ayon replied that he is on his way now

and will call later. Your Affiant believes “14 beers” and “half” to be code for a half kilogram of

cocaine. A GPS tracking device installed on the vehicle of IBARRA-Ayon’s Jeep Grand

Cherokee, shows the Jeep stopped in the area of 509 National Avenue on December 11, 2017 at

approximately 6:38pm. Your Affiant believes IBARRA-Ayon delivered one half kilogram of

cocaine to DANIEL GOMEZ-BARAJAS at this time.

       17.      On January 31, 2018, Agents received information that Eduardo HERNANDEZ-




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Sanchez, at the direction of IBARRA-Ayon, would travel to Axton, VA to pick up six kilograms

of cocaine. HERNANDEZ-Sanchez would then return to Winchester, VA to deliver the kilos of

cocaine to IBARRA-Ayon for further distribution. As a result of this information, search

warrants and arrest warrants were sought in both the Triton DTO and Poseidon DTO

investigations. The enforcement action resulted in the seizure of approximately 12 kilograms of

cocaine, approximately 5lbs of marijuana, several firearms, and multiple arrests. The activities

also resulted in the identification of TRAMPA and SANDOVAL. TRAMPA was identified as

Rogelio SANTACRUZ-Godina and SANDOVAL was identified as Jose Alfredo SANTACRUZ-

Godina.

        18.      On May 8, 2018, the DEA Roanoke RO (DEA RRO) conducted surveillance of Ramon

CARRILLO-Ruvalcaba and Eduardo CONTRERAS-Devora at Chad’s Auto Sales in Collinsville, VA and

observed the two looking at a vehicle for sale. After looking at the vehicle, surveillance observed Eduardo

CONTRERAS-Devora get into the driver’s seat of a black Land Rover LR3, registered to CARRILLO-

Ruvalcaba, and CARRILLO-Ruvalcaba get into the passenger seat of the vehicle. Surveillance lost visual

of the black Land Rover LR3 after it departed the car lot but later observed it at 405 Tommy Carter Road,

Axton, VA (residence of CARRILLO-Ruvalcaba).

        19.      In June 2018, the DEA RRO spoke with a source of information who stated Eddy

LNU (believed to be Eduardo CONTRERAS-Devora) and Ivan LNU (believed to be Ivan De Jesus

CONTRERAS-Devora) are Hispanic males who are brothers that distribute drugs. The SOI also

stated Eddy drives a gray Dodge Charger.

        20.      On June 28, 2018, the DEA RRO conducted surveillance at 405 Tommy Carter Road,

Axton (residence of CARRILLO-Ruvalcaba) and observed a silver Dodge Charger (believed to bear

VA tag VYH-1309 and registered to Ivan De Jesus CONTRERAS-Devora) pull into the driveway.




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Surveillance observed the silver Dodge Charger pull around the rear of the residence, back up and

depart the location. Surveillance was maintained on the silver Dodge Charger and observed it arrive

at 1711 Plantation Drive, Axton, VA (which received a package of approximately 15 pounds of

suspected marijuana on July 11, 2018) and pull around to the rear of the residence. Surveillance

observed an unidentified male, believed to be Eduardo CONTRERAS-Devora, exit the front driver

side of the vehicle and walk up the rear steps to the residence. Surveillance later observed the silver

Dodge Charger back up and park in front of the detached garage. Surveillance then observed a dark

colored Honda Accord with no front tag pull into the driveway of the location and observed three

unidentified males walking away from the dark colored Honda Accord and walk towards a shaded

area next to the driveway. Surveillance observed the three unidentified males and Eduardo

CONTRERAS-Devora engage in conversation for the next several minutes. Surveillance then

observed Eduardo CONTRERAS-Devora return to the front driver side of the silver Dodge Charger

and depart the location. Surveillance also observed the three unidentified males return to the dark

colored Honda Accord. Surveillance was maintained on the silver Dodge Charger and observed it

arrive at 247 Camp Branch Drive, Martinsville, VA. Surveillance observed Eduardo CONTRERAS-

Devora, wearing a backwards baseball cap, a camouflage shirt and blue jeans, exit the vehicle and

enter the front door of the residence.

        21.      On July 10, 2018, the VSP Bureau of Criminal Investigations and US-PIS interdicted a

parcel originating from California with a final destination of Axton, Virginia. The investigation into the

package culminated in a federal search warrant for the contents of the package. The package was found to

contain approximately 7 kilograms of marijuana.

        22.      On or about July 11, 2018, a controlled delivery was attempted at the final destination of

1711 Plantation Drive, Axton, Virginia. The package was delivered to the front porch of 1711 Plantation

Drive, Axton, Virginia by an undercover law enforcement agent. The package was under continuous law




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enforcement surveillance and was observed being placed into a truck which travelled to 135 Huff Drive,

Axton, Virginia, the residence of Cesar GONZALEZ-Parra. Law enforcement observed the package

being taken into a large outbuilding on the property of 135 Huff Drive, Axton, Virginia next to the

primary residence.

        23.      On or about July 11, 2018, a federal search warrant was obtained for and executed at 135

Huff Drive, Axton, Virginia. Upon execution of the search warrant, Gonzalez-Parra was identified as one

of the occupants at 135 Huff Drive, Axton, Virginia.

        24.      The search of 135 Huff Drive, Axton, Virginia revealed a Colt 10mm semi-automatic

pistol, delta elite model, bearing serial number 0517244 under the bed in the master bedroom. The search

of an outbuilding on the property of 135 Huff Drive, Axton, Virginia revealed a Marlin .22-caliber rifle,

model number 882, bearing serial number 04516121.

        25.      Located at the address was a drug ledger depicting the names of several individuals

as well as figures showing the distribution of narcotics totaling up to $1.4 million dollars. One of the

names on that ledger was “Eduardo”. It should be noted that the girlfriend of GONZALEZ-Parra has

been identified as Perla CONTRERAS-Devora and she is further identified as the sister of Eduardo

CONTRERAS-Devora.

        26.      On July 19, 2018, Virginia State Police Trooper Mumaw #1819 was operating

radar at a stationary position at milepost 278 on Interstate 81 in Shenandoah County, VA. Tpr.

Mumaw observed a silver Dodge Charger bearing VA tag VYH-1309 and registered to Ivan De

Jesus CONTRERAS-Devora pass his location at 80mph in a posted 70mph zone. Tpr. Mumaw

performed a traffic stop on the vehicle at milepost 278.5. Tpr. Mumaw approached the vehicle,

identified himself and requested driver’s license and vehicle registration of the driver, later

identified as Eduardo CONTRERAS-Devora. CONTRERAS-Devora stated he did not have a

license. Tpr. Mumaw performed record checks and confirmed CONTRERAS-Devora was not




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licensed in the Commonwealth of Virginia.

       27.       Tpr. Mumaw then issued a summons to CONTRERAS-Devora for going 80mph

in a posted 70mph zone, no driver’s license, and a window tint violation. Tpr. Mumaw then

requested a tow company to tow the vehicle from the interstate. TK Towing responded to the

scene and removed the vehicle from the interstate. Tpr. Mumaw then departed the scene, went to

milepost 284 and again performed stationary radar.

       28.       Shortly thereafter, Tpr. Mumaw observed the same Dodge Charger pass his

location. Again, Tpr. Mumaw performed a traffic stop on the vehicle, this time at milepost 284.8.

Tpr. Mumaw approached CONTRERAS-Devora and asked him if he obtained a driver’s license

to which CONTRERAS-Devora stated he did not. At approximately 9:43am, CONTRERAS-

Devora was arrested and was read Miranda warnings to which CONTRERAS-Devora stated he

understood his rights.

       29.       Tpr. Mumaw then proceeded to search the vehicle and perform an inventory prior

to it being towed from the scene. When Tpr. Mumaw opened the front passenger door, he

detected the odor of marijuana and noticed it was stronger when he opened the rear passenger

door. Tpr. Mumaw then opened the trunk and observed two light blue storage tubs in the vehicle.

Tpr. Mumaw located 11 packages of suspected marijuana in one tub and 9 packages of suspected

marijuana in the second tub.

       30.       Tpr. Mumaw also located an unloaded Taurus 380 caliber handgun in the glove

box of the vehicle. When questioned about it, CONTRERAS-Devora stated he purchased the

handgun a few days ago for protection. Other statements made by CONTRERAS-Devora were

that he did not know anything about the storage tubs and he only had one phone and did not know

about another.




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       31.      CONTRERAS-Devora was arrested and charged in the Commonwealth of

Virginia with the Possession with Intent to Distribute Marijuana, Carrying a Concealed Weapon,

Possession of a Firearm while in Possession more than 1lb of Marijuana, and Possession of a

Firearm by a Person not a citizen or lawfully present in the United States. CONTRERAS-Devora

was booked into the Rappahannock / Shenandoah / Warren Regional Jail and held with no bond.

       32.      Tpr. Mumaw located two cellular telephones in the vehicle, a white LG phone

and an iPhone in a black and orange case. The iPhone was showing active Google maps

directions and Tpr. Mumaw observed the directions showing “31 miles” to the destination. The

cell phones were released to Northwest Virginia Regional Drug Task Force members.

NWVRDGTF Sgt. Bielecki and SA Fiorvanti followed the directions to the end location,

identified as 509 National Avenue, Winchester, VA.

       33.      The cellular telephone associated with the above transactions has been identified

as 540-771-7843 and DANIEL GOMEZ-BARAJAS has been identified as the user of that

telephone. Subscriber information from Sprint shows 540-771-7843 to be assigned to Jose

Ramirez at 223 Baker Street, Winchester, VA. Your Affiant knows, through training and

experience, that those involved in illicit drug activity have a tendency to provide false subscriber

information to phone companies in an effort to avoid detection and thwart identification by law

enforcement. Toll analysis of this number shows it to be in contact with the following

individuals. “Contact” could either be a text message or a phone call.


       x        Guadalupe IBARRA-Ayon – 10-31-2017 – 12-22-2017: 170 contacts

       x        Oscar Miguel OSORIO-Munoz – 10-31-2017 – 12-24-2017: 124 contacts

       x        Effie HOUGHTON – 10-16-2017 – 11-14-2017: 3144 contacts

       x        Lisa VASQUEZ – 10-18-2017 – 11-14-2017: 7 contacts




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       x         Vicky HOUGHTON – 10-16-2017 – 11-13-2017: 36 contacts


       34.       Except as otherwise noted, all of the above activities occurred within the Western

District of Virginia.

       35.       As of July 19, 2018, surveillance units at 509 National Avenue observed the

same vehicles parked outside the residence as those seen during the suspected drug

transactions on December 5, 2017, and December 10, 2017 as well as other surveillances

conducted during this investigation. Based on this information, I believe that DANIEL

GOMEZ-BARAJAS still resides at the target location.

                                          Conclusion

       36.       Your affiant submits that the residence located at 509 National Avenue,

Winchester, VA is a place where DANIEL GOMEZ-BARAJAS stores quantities of cocaine and

marijuana and serves as the residence for DANIEL GOMEZ-BARAJAS.

       37.       Based on the forgoing, I request that the Court issue the proposed search warrant

for the residence 509 National Avenue, Winchester, Virginia, utilized by DANIEL GOMEZ-

BARAJAS for drug distribution activities.



       Respectfully submitted,

       /s/Thomas F. Hickey
       Thomas F. Hickey
       Special Agent
       Drug Enforcement Administration


Received by reliable electronic means and sworn and attested to by telephone on January 19, 2018.




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Joel C
     C. Hoppe
United States Magistrate Judge
Western District of Virginia




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                                     ATTACHMENT A

                                       Property to Be
                                         Searched

       1.      509 National Avenue is described as a single family two story residence

with cream colored siding and a grey shingled roof with a full faced front porch. The

numbers “509” are in gold with a red background on the front porch overhang and the

numbers “509” are in black/gold on a black mailbox to the left of the front door. The front

door is white in color with a white storm door and faces National Avenue. The residence

is located in between East Street and West Street and has alley access in the rear.

Surveillance has determined this to be the residence of DANIEL GOMEZ-BARAJAS.




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                                    ATTACHMENT B

                                   Property to be Seized

A.   Controlled substances, including but not limited to cocaine, a Schedule II controlled
     substance;

B.   Financial and business records, whether or not maintained electronically or by computer,
     including, but not limited to books, records, receipts, notes, ledgers, journals,
     memoranda, address and/or telephone books, tapes, computer disks, computers relating
     to the transportation, ordering, purchase and distribution of controlled substances,
     including but not limited to cocaine, a Schedule II controlled substance;

C.   Papers, tickets, notes, schedules, receipts and other items relating to domestic or foreign
     travel;

D.   Books, records, receipts, bank statements and records, money drafts, letters of credit,
     money order and cashier's checks receipts, passbooks, bank checks, bank deposit tickets,
     safe deposit box keys, and memoranda and other items evidencing the obtaining,
     secreting, transfer and/or concealment of assets and the obtaining, secreting, transfer,
     concealment and/or expenditure of money;

E.   United States currency, precious metals, jewelry and financial instruments, including but
     not limited to stocks and bonds;

F.   Photographs, in particular, photographs of co-conspirators, of assets and/or of controlled
     substance, in particular, cocaine;

G.   Paraphernalia for packaging, cutting, weighing and distributing controlled substances, in
     particular, cocaine, including, but not limited to scales, baggies and spoons;

H.   Indicia of occupancy, residence and/or ownership of the premises described above,
     including but not limited to utility and telephone bills, canceled envelopes, and keys;

I.   Any and all other material evidence of violations of Title 21, United States Code,
     Sections 841(a)(1), and 846 (Possession with Intent to Distribute and Distribution of
     Controlled Substances, in particular, cocaine; Conspiracy to distribute and to possess
     with Intent to Distribute Controlled Substances, in particular, cocaine);

J.   Any and all handguns, rifles, shotguns, submachine guns, or any other firearms found
     which may be used to facilitate transactions in controlled substances or to threaten or
     intimidate witnesses to a violation of federal law;

K.   Any and all wireless electronic devices.




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